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                                         ORDERED.


         Dated: October 11, 2019




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov

In re:

JAMES S. PENDERGRAFT, IV,                                  Case No. 6:18-bk-06437-KSJ
                                                           Chapter 7
      Debtor.
______________________________/

            ORDER GRANTING TRUSTEE’S MOTION TO COMPEL
               COMPLIANCE WITH THE COURT’S ORDER FOR
             TURNOVER AS TO DOCUMENTS HELD BY DEBTOR
       (DOC. 138) AND TRUSTEE’S MOTION TO COMPEL COMPLIANCE
     WITH THE COURT’S AGREED ORDER GRANTING TRUSTEE’S REPORT
    AND NOTICE OF INTENT TO SELL PROPERTY OF THE ESTATE (DOC. 139)

          THIS CASE came on for hearing October 1, 2019, upon Arvind Mahendru’s, as Chapter 7

Trustee (the “Trustee”), Motion to Compel Compliance with the Court’s Order for Turnover as to

Documents Held by Debtor (Doc. 138) (the “Document Motion”) and Trustee’s Motion to Compel

Compliance with the Court’s Agreed Order Granting Trustee’s Report and Notice of Intent to Sell

Property of the Estate (Doc. 139) (the “Sale Motion”). After reviewing the pleadings and

considering the position of the parties, it is

          ORDERED:
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       1.      The Document Motion is GRANTED.

       2.      The Sale Motion is GRANTED.

       3.      On or before November 1, 2019, Debtor, James S. Pendergraft, IV, shall fully

comply with this Court’s Order Granting Amended Motion for Turnover of Documents Held by

the Debtor (Doc. 108) and this Court’s Agreed Order Granting Trustee’s Report and Notice of

Intention to Sell Property of the Estate (Doc. 123).

       4.      Contemporaneously with the entry of this Order, the Court is entering an Order to

Show Cause to Debtor regarding compliance with these Orders.

       Attorney Michael A. Nardella is directed to serve a copy of this order on interested parties
who are non-CM/ECF users and to file a proof of service within three days of entry of this order.
